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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                          TYLER DIVISION
JERRYLAZA                                              §
                                                       §
                           Plaintiff,                  §
                                                       §
v.                                                     §
                                                           CIVIL ACTION NO. _ _ _ _ __
                                                       §
CITY OF PALES TINE, MIKE ALEXANDER,                    §
RONALD STUTES                                          §   WRY TRIAL REQUESTED
                                                       §
                           Defendants.                 §
                                                      §
                                                       §



                         DEFENDANT CITY OF PALES TINE'S LIST OF COUNSEL

          Defendant City of Palestine files this List of Counsel to accompany its Notice of Removal.

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          2.      Defendant City of Palestine


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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court's

CM/ECF electronic mail system per Local Rule CV-5(a)(3) on September 18, 2017.




                                                Is/ J Matt Rowan
                                                J. Matt Rowan




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